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Zack Dozier                                                                                                  David Dozier
Jack Jenkins                                                                                                 Sam Hart, Jr.
Sean Bewick                                                                                                  David T. Dorer
Dustin Hamilton                                                                                              James Kurhajian
Ashley Cameron
Eric J. Alvarez
Rich Jenkins
George Phillips, M.D.
                                                               OZIER                                         Travis Tuggle
                                                                                                             Lindsay Simmons
                                                                                                             Micah J. East
                                                                                                             Sean G. Hickey
  (Ret. Colonel US Army)
                                                                  LAW FIRM, LLC


                                                              September 1, 2021

Via Email: kristyn.smith@walmart.com
Via Fax Transmittal: 1-877-219-0742
National Union Fire Insurance Company of Pittsburgh
c/o Walmart Claims Services, Inc.
Attn: Kristyn Smith
P.O. Box 14731
Lexington, KY 40512

           Re:         Claimant:               Priscilla J. Williams
                       Insured:                Wal-Mart Stores, Inc.
                       Claim No:               9374999
                       Date of Loss:           October 23, 2020

                                                            Initial Demand Letter

Ms. Smith:

        As you are aware, we represent Priscilla J. Williams for various personal injury claims
arising from a slip and fall incident that occurred at the Walmart store located at 135 Willow Lane,
McDonough, Georgia 30253, on October 23, 2020. I am writing in an effort to resolve this claim
amicably without the necessity of prolonged and expensive litigation. I have enclosed for your
review the crash report, hospital and medical records, medical bills, and other documentation
supporting this demand for settlement. As such, this letter and all its contents are being presented
in hopes of settling the case and the information contained herein is not admissible in court
pursuant to O.C.G.A. § 24-4-408. To date, Ms. Williams’ medical treatment has been as follows:

 MEDICAL PROVIDER                                                     DATES OF SERVICE                   AMOUNT OF BILL
 Emory Hillandale Hospital                                                  10/25/2020                          $1,729.10
 Regional Medical Group                                               10/30/2020 – 01/27/2021                  $30,475.01
 Onyx Imaging                                                               11/02/2020                          $4,213.00
 Emory Hillandale Hospital                                                  01/26/2021                          $2,265.30
 Piedmont Injury & Rehabilitation Center, LLC                         12/28/2020 – 01/22/2021                   $2,177.00
 Advanced Chiropractic of Conyers                                     01/27/2021 – 04/12/2021                   $6,045.00
 Team Rehabilitation Physical Therapy                                 04/02/2021 – 04/26/2021                   $3,115.00
                                                                             TOTAL                             $50,019.41


1388 SOUTHLAKE PLAZA DRIVE, P.O. BOX 847, MORROW, GA 30260-1756            PHONE      (404) 800-0308       FAX      (470) 533-0792
327 THIRD STREET, P.O. BOX 13, MACON, GA 31202-0013                        PHONE        (478) 742-8441     FAX        (478) 745-9097
401 MALL BOULEVARD, SUITE 103-E, SAVANNAH, GA 31406-4862                   PHONE        (912) 239-4395     FAX        (912) 239-4401
235 W. ROOSEVELT AVENUE, SUITE 100, ALBANY, GA 31701-2374                  PHONE        (229) 299-9590     FAX        (229) 299-9610
                                                              www.dozierlaw.com
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        As you can see, Ms. Williams’ current medical bills amount to $50,019.41. A review of Ms.
Williams’ records will show that she has suffered a painful injury and, as such, is entitled to both
special damages in the amount of $50,019.41 and general damages for her pain and suffering
that followed her injury.

      As such, Ms. Williams has authorized me to make an initial settlement offer of
$125,000.00.

        While Ms. Williams would prefer to bring this matter to a conclusion sooner than later, she
is not opposed to litigating this matter in order to reach a fair and reasonable resolution.

        Please review Ms. Williams’ documentation and contact me to discuss the possibility of
settling this case for a fair and reasonable amount that compensates Ms. Williams for her special
damages in the amount of $50,019.41 and general damages for her pain and suffering that
followed her injury.

        Thank you for your assistance with this matter. I look forward to hearing from you at your
earliest convenience.

                                                                                 Sincerely,


                                                                                 Rich Jenkins, JD, MBA
                                                                                 Attorney at Law
                                                                                 rich@dozierlaw.com
                                                                                 (404) 800-0308 x 405

cc:        Client File No: # M201371PI




1388 SOUTHLAKE PLAZA DRIVE, P.O. BOX 847, MORROW, GA 30260-1756          PHONE       (404) 800-0308     FAX    (470) 533-0792
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                                                            www.dozierlaw.com
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                        Advanced Chiropractic of Conyers
                                     1261 Parker Rd South East
                                        Conyers, GA 30094
                                          (770) 761-2181

Williams, Priscilla
4862 ozment trail
Lithonia, GA 30038
(478) 538-2251
                                        Transaction Listing
    Date        Code                         Description                   Charges      Credits
  4/12/2021     97110   Spinal decompression cervical                          $70.00      -
  4/12/2021     97010   Heat Pack/Cryotherapy                                  $35.00      -
  4/12/2021     98940   Manipulation/1 to 2 Regions                            $65.00      -
   4/8/2021     97014   Electrical Muscle Stimulation                          $45.00      -
   4/8/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
   4/8/2021     97124   Vibratory Massage                                      $50.00      -
   4/5/2021     97110   Spinal decompression cervical                          $70.00      -
   4/5/2021     98940   Manipulation/1 to 2 Regions                            $65.00      -
   4/5/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
   4/5/2021     97124   Vibratory Massage                                      $50.00      -
   4/2/2021     97014   Electrical Muscle Stimulation                          $45.00      -
   4/2/2021     98940   Manipulation/1 to 2 Regions                            $65.00      -
   4/2/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
   4/2/2021     97124   Vibratory Massage                                      $50.00      -
  3/29/2021     97014   Electrical Muscle Stimulation                          $45.00      -
  3/29/2021     98941   Manipulation/3 to 4 Regions                            $75.00      -
  3/29/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
  3/29/2021     97124   Vibratory Massage                                      $50.00      -
  3/24/2021     97014   Electrical Muscle Stimulation                          $45.00      -
  3/24/2021     98941   Manipulation/3 to 4 Regions                            $75.00      -
  3/24/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
  3/24/2021     97124   Vibratory Massage                                      $50.00      -
  3/22/2021     97014   Electrical Muscle Stimulation                          $45.00      -
  3/22/2021     98941   Manipulation/3 to 4 Regions                            $75.00      -
  3/22/2021     97012   Intersegmental/Mechanical Traction                     $45.00      -
  3/22/2021     97124   Vibratory Massage                                      $50.00      -
  3/19/2021     98941   Manipulation/3 to 4 Regions                            $75.00      -
  3/19/2021     97110   Spinal decompression cervical                          $70.00      -
  3/19/2021     97124   Vibratory Massage                                      $50.00      -
  3/17/2021     98941   Manipulation/3 to 4 Regions                            $75.00      -

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3/17/2021    97110   Spinal decompression cervical                      $70.00      -
3/17/2021    97124   Vibratory Massage                                  $50.00      -
3/10/2021    97110   Theraputic Exercise                                $70.00      -
3/10/2021    97110   Theraputic Exercise                                $70.00      -
3/10/2021    97010   Heat Pack/Cryotherapy                              $35.00      -
3/10/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
3/10/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
3/8/2021     97110   Theraputic Exercise                                $70.00      -
3/8/2021     97110   Theraputic Exercise                                $70.00      -
3/8/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
3/8/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
3/8/2021     97124   Vibratory Massage                                  $50.00      -
3/3/2021     99212   Established Patient Focused                        $65.00      -
3/3/2021     97110   Theraputic Exercise                                $70.00      -
3/3/2021     97110   Theraputic Exercise                                $70.00      -
3/3/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
3/3/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
3/3/2021     97124   Vibratory Massage                                  $50.00      -
3/1/2021     97110   Spinal decompression cervical                      $70.00      -
3/1/2021     97110   Spinal decompression cervical                      $70.00      -
3/1/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
3/1/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
3/1/2021     97124   Vibratory Massage                                  $50.00      -
2/24/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/24/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/24/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/24/2021    97124   Vibratory Massage                                  $50.00      -
2/22/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/22/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/22/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/22/2021    97124   Vibratory Massage                                  $50.00      -
2/18/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/18/2021    97010   Heat Pack/Cryotherapy                              $35.00      -
2/18/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/18/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/18/2021    97124   Vibratory Massage                                  $50.00      -
2/18/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/18/2021    97010   Heat Pack/Cryotherapy                              $35.00      -
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                                                                        EXHIBIT A
2/18/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/18/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/18/2021    97124   Vibratory Massage                                  $50.00      -
2/15/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/15/2021    97010   Heat Pack/Cryotherapy                              $35.00      -
2/15/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/15/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/15/2021    97124   Vibratory Massage                                  $50.00      -
2/10/2021    97014   Electrical Muscle Stimulation                      $45.00      -
2/10/2021    97010   Heat Pack/Cryotherapy                              $35.00      -
2/10/2021    98941   Manipulation/3 to 4 Regions                        $75.00      -
2/10/2021    97012   Intersegmental/Mechanical Traction                 $45.00      -
2/10/2021    97124   Vibratory Massage                                  $50.00      -
2/8/2021     97014   Electrical Muscle Stimulation                      $45.00      -
2/8/2021     97010   Heat Pack/Cryotherapy                              $35.00      -
2/8/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
2/8/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
2/8/2021     97124   Vibratory Massage                                  $50.00      -
2/5/2021     97014   Electrical Muscle Stimulation                      $45.00      -
2/5/2021     97010   Heat Pack/Cryotherapy                              $35.00      -
2/5/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
2/5/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
2/5/2021     97124   Vibratory Massage                                  $50.00      -
2/4/2021     97014   Electrical Muscle Stimulation                      $45.00      -
2/4/2021     97010   Heat Pack/Cryotherapy                              $35.00      -
2/4/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
2/4/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
2/4/2021     97124   Vibratory Massage                                  $50.00      -
2/3/2021     97014   Electrical Muscle Stimulation                      $45.00      -
2/3/2021     97010   Heat Pack/Cryotherapy                              $35.00      -
2/3/2021     98941   Manipulation/3 to 4 Regions                        $75.00      -
2/3/2021     97012   Intersegmental/Mechanical Traction                 $45.00      -
2/3/2021     97124   Vibratory Massage                                  $50.00      -
1/29/2021    97014   Electrical Muscle Stimulation                      $45.00      -

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  1/29/2021     97010    Heat Pack/Cryotherapy                                      $35.00     -
  1/29/2021     98940    Manipulation/1 to 2 Regions                                $65.00     -
  1/29/2021     97012    Intersegmental/Mechanical Traction                         $45.00     -

  1/29/2021     97124    Vibratory Massage                                          $50.00     -
  1/27/2021     99204    Detailed Exam/New Patient                                 $225.00     -
  1/27/2021     97014    Electrical Muscle Stimulation                              $45.00     -

  1/27/2021     97010    Heat Pack/Cryotherapy                                      $35.00     -
                                                                                   Charges $6,045.00
                                                                                    Credits    $0.00
                                                                                   Balance $6,045.00
G47.8 Sleep disturbance, other sleep disorder
M25.562 Pain in left knee
M25.60 Stiffness of Unspecified Joint, Not Elsewhere Classified.
M25.662 Stiffness of left knee, not elsewhere classified
M50.21 Other cervical disc displacement, high cervical region
M50.220 Other cervical disc displacement, mid-cervical region, unspecified level
M50.221 Other cervical disc displacement at C4-C5 level
M50.222 Other cervical disc displacement at C5-C6 level
M50.223 Other cervical disc displacement at C6-C7 level
M54.16 Radiculopathy, lumbar region
M54.2 Cervicalgia
M54.5 Low back pain
M79.1 Myalgia
M99.01 Segmental and somatic dysfunction of cervical region
M99.03 Segmental and somatic dysfunction of lumbar region
M99.04 Segmental and somatic dysfunction of sacral region
R20.8 Other disturbances of skin sensation
W19.XXXA Unspecified Fall, Initial Encounter



   Provider Information
   Provider Name: Clarel Jean-Louis, JR
   License: 7022
   NPI: 1871653279




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Patient:           WILLIAMS, PRISCILLA
MedRecNum:         293-321267
Clinic Location:   Team Rehabilitation GA12 LLC
                   1288 Wellbrook Cir NE STE B, Conyers, GA, 300128032
Diagnosis:         M54.2

     DOS           CPTCode Units Charges          Adj   PriPaid   Other InsPaid   Patient Paid   Insurance Due    Patient Due    Total Due
  04/02/2021        97110   3    $ 345.00        $-     $ -       $         -     $        -     $       345.00   $        -     $ 345.00
  04/02/2021        97161   1    $ 265.00        $-     $ -       $         -     $        -     $       265.00   $        -     $ 265.00
  04/05/2021        97112   4    $ 480.00        $-     $ -       $         -     $        -     $       480.00   $        -     $ 480.00
  04/07/2021        97112   4    $ 480.00        $-     $ -       $         -     $        -     $       480.00   $        -     $ 480.00
  04/12/2021        97112   4    $ 480.00        $-     $ -       $         -     $        -     $       480.00   $        -     $ 480.00
  04/14/2021        97112   4    $ 480.00        $-     $ -       $         -     $        -     $       480.00   $        -     $ 480.00
  04/26/2021        97112   1    $ 120.00        $-     $ -       $         -     $        -     $       120.00   $        -     $ 120.00
  04/26/2021        97140   3    $ 315.00        $-     $ -       $         -     $        -     $       315.00   $        -     $ 315.00
  04/26/2021        97164   1    $ 150.00        $-     $ -       $         -     $        -     $       150.00   $        -     $ 150.00
  Grand Total                    $ 3,115.00      $-     $ -       $         -     $        -     $     3,115.00   $       -      $ 3,115.00

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                               Advanced Chiropractic of Conyers
                                  1261 Parker Rd South East
                                     Conyers, GA 30094
                                       (770) 761-2181
                                     Fax: (770) 761-0277
                                Doctor: Clarel Jean-Louis, JR

Priscilla Williams
4862 ozment trail
Lithonia, GA 30038
Date of Birth: 8/18/1972

Examination Date: 1/27/2021



                                            Initial Exam



Chief Complaints
Ms. Williams reported that her pain is due to the slip and fall accident on 10/23/2020. She
added that her pain is getting worse as time goes by which prevents her from sleeping through
the night. She further stated that her pain has caused her to develop a high pain tolerance, had
to go to the emergency room yesterday, has to sleep on a recliner, can't stay in any one position
for more than 30 minutes, developed a blister on her lower back from leaving the heat on her
lower back too long because she has a numbing sensation on that area and the last
chiropractor was not helpful.

1. Posterior Neck
She is complaining of posterior neck pain which began on 10/23/2020. She rated this pain as
an 8 on a scale of 0 to 10 with 10 being the worst. The pain is frequent according to the patient.
The pain is radiating into the left shoulder, left shoulder blade, right shoulder and right shoulder
blade and is expressed as aching, dull, sharp, stabbing and fiery. Ms. Williams added that there
is a burning sensation present. The pain is reduced by applying heat while neck movement and
prolonged sitting aggravates the condition. As a result of this condition, she also suffers
decreased ROM, stiffness and tightness.
2. Lower Back
Constant lower back pain which began on 10/23/2020. The pain is described as aching, dull,
throbbing, fiery and shooting. Ms. Williams added that there is a burning sensation present.
She rated the pain as a 10 on a scale of 0 to 10 with 10 being the worst. The pain radiates into
the left buttock, left hip and right buttock. The pain also goes down the left leg. The pain is
reduced by nothing while bending, coughing, sneezing, lying down, lifting, prolonged sitting,
prolonged standing, prolonged walking, lateral flexion to the left, lateral flexion to the right,
rotation to the left, rotation to the right, moving from a laying position to a sitting position, moving
from a laying position to a standing position, moving from a sitting position to a laying position,
moving from a sitting position to a standing position, moving from a standing position to a laying
position and moving from a standing position to a sitting position aggravates the condition. She




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added that burping also makes the pain worse. Side effects of this condition are numbness,
stiffness and tightness.
3. Left Knee
This symptom consists of left knee pain which began on 10/23/2020. She rated this pain as a 7
on a scale of 0 to 10 with 10 being the worst. The pain is occasional according to the patient.
The pain is reported as aching and dull. The pain is aggravated by prolonged standing,
prolonged walking, walking downstairs, walking upstairs and weight bearing while applying heat
alleviates the condition. Ms. Williams stated that bending also makes the pain worse. Further
effects of this condition are pain. Ms. Williams added that stiffness and tightness is also
present.

Due to severe pain, Ms. Williams was not able to perform the following tests: Lumbar Ranges of
Motion, Kemp's, Straight Leg Raiser, Braggard's, Yeoman's, Heel Walk (L4/L5), Toe Walk
(L5/S1), Hibb's, and Fabere Patrick's.

History
Ms. Williams stated she had hystectomy in 2019. Ms. Williams states that she currently has
high blood pressure. She reports a family history of cardiovascular disease and high blood
pressure.

Social History
Ms. Williams is separated. She has never smoked and is a non drinker of alcohol. Priscilla
does not consume drinks containing caffeine.

Physical Examination
Physical examination revealed an individual who was alert, cooperative and orientated.
Minor's sign was positive.
Race:         Black or African American
Sex:          Female
Age:          48
Height:       5ft 3 inches
Weight:       180 pounds
BMI:          31.9
Complexion: Normal
Size:         Overweight

Posture
The patient's head tilt was to the right. Her shoulder level appeared high on the right. She had
a forward head carriage. The patient has rounded shoulders. Left heel walk: UTP. Right heel
walk: UTP. Left toe walk: UTP. Right toe walk: UTP.

Cervical Spine Evaluation
Cervical spine evaluation provided the following results:

Tenderness is observed in the cervical region bilaterally, mastoid process bilaterally and C1
bilaterally. There is hypertonicity in the cervical region on both sides, trapezius on both sides
and SCMs on both sides. Ranges of motion in the cervical region are decreased. The patient
reported pain when performing this test. Distraction test increased pain. The following cervical
orthopedic tests were positive: Cervical compression, Foraminal Compression bilaterally,
O'Donoghues on the left, O'Donoghues on the right and Max Compression bilaterally. Shoulder
depression was positive on the left and right.


Priscilla Williams
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Lumbar Spine Evaluation
Lumbar spine evaluation provided the following results:

Evaluation of the lumbar spinal region reveals tender areas in the lumbar region on both sides
and erector spinae on both sides. Palpation of the lumbar musculature demonstrates
hypertonicity in that area in the lumbar region on both sides and erector spinae on both sides.
Examination of the lumbar spine revealed the ROM has gotten worse. The patient indicated
that they felt discomfort during the performance of this evaluation.

Sacroiliac Evaluation
The following is the results of sacroiliac testing:

There is tenderness present in the sacral spine in the sacroiliac on both sides. Increased
muscle tone is present in the gluteus on both sides.

Knee Tests

Palpation revealed tenderness in the tibiofemoral on the left. Palpation of the left knee revealed
tenderness of the fibular head. Evaluation of the knee(s) show that the range of motion has
worsened. The following orthopedic tests were negative on the left: Drawer AP/PA and Patellar
grinding. The following orthopedic tests were positive on the left: Apley's compression and
Apley's distraction.

Diagnosis
1. W19.XXXA           Unspecified Fall, Initial Encounter
2. M54.2              Cervicalgia
3. M54.5              Low back pain
4. M99.01             Segmental and somatic dysfunction of cervical region
5. M99.03             Segmental and somatic dysfunction of lumbar region
6. M99.04             Segmental and somatic dysfunction of sacral region
7. M54.16             Radiculopathy, lumbar region
8. M79.1              Myalgia
9. G47.8              Sleep disturbance, other sleep disorder
10. R20.8             Other disturbances of skin sensation
11. M25.60            Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562           Pain in left knee
13. M25.662           Stiffness of left knee, not elsewhere classified


Management Plan
1. hot packs 2x per week/duration of 8-10 weeks
2. Electrical Stimulation 2x per week/duration of 8-10 weeks (to reduce muscle spasms and
pain)
3. Spinal Manipulation 2x per week/duration of 8-10 weeks
4. Traction 2x per week/duration of 8-10 weeks

Today's Treatments
Today's treatment consisted of
1. hot packs in the cervical region and in the lumbar region and in the sacrum region
2. Electrical Stimulation in the cervical region and in the lumbar region


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3. Activator in the cervical region, in the lumbar region and in the sacrum region.


Should you have further questions regarding the health status of this patient, please do not
hesitate to call this office.




   Clarel Jean-Louis, JR

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                              Advanced Chiropractic of Conyers
                                 1261 Parker Rd South East
                                    Conyers, GA 30094
                                      (770) 761-2181
                                    Fax: (770) 761-0277
                               Doctor: Clarel Jean-Louis, JR

Priscilla Williams
4862 ozment trail
Lithonia, GA 30038
Date of Birth: 8/18/1972



                                    SOAP Notes with exam

1/29/2021

Subjective Complaint
Ms. Williams was evaluated today to assess her response to care. During today's visit, the
patient reported that her posterior neck, lower back and left knee showed no change since the
last visit. On a scale of 0 to 10 with 10 being the worst, she rated her posterior neck as an 8,
lower back as a 10 and left knee as a 7.

Objective
Tenderness is observed in the cervical region bilaterally, mastoid process bilaterally and C1
bilaterally. Palpation of the spine reveals increased muscle tone in the cervical region
bilaterally, trapezius bilaterally and SCM bilaterally. Cervical spine evaluation shows that the
range of motion remains the same. The patient reported pain during the performance of this
test. Palpation of the lumbar spine reveals tenderness in the lumbar region bilaterally and
erector spinae bilaterally. There is hypertonicity in the lumbar spine in the lumbar region
bilaterally and erector spinae bilaterally. The lumbar ranges of motion continue to be
unchanged. There is pain during the execution of this test. Palpation of the sacrum reveals
tenderness of the sacroiliac bilaterally. Hypertonicity of the sacral region is found in the gluteus
bilaterally. Left knee palpation elicited tenderness in the left tibiofemoral joint. Examination of
the knee indicates the presence of discomfort and pain in the head of the fibula on the left.
Range of motion in the knee has remained unchanged.

Assessment
Posterior neck, lower back and left knee assessment is determined to be unchanged. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee. It
is to be noted that Ms. Williams is already under the care of an orthopedic doctor.
Diagnosis consisted of:
1. W19.XXXA          Unspecified Fall, Initial Encounter
2. M54.2             Cervicalgia
3. M54.5             Low back pain
4. M99.01            Segmental and somatic dysfunction of cervical region
5. M99.03            Segmental and somatic dysfunction of lumbar region
6. M99.04            Segmental and somatic dysfunction of sacral region



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7.    M54.16         Radiculopathy, lumbar region
8.    M79.1          Myalgia
9.    G47.8          Sleep disturbance, other sleep disorder
10.   R20.8          Other disturbances of skin sensation
11.   M25.60         Stiffness of Unspecified Joint, Not Elsewhere Classified.
12.   M25.562        Pain in left knee
13.   M25.662        Stiffness of left knee, not elsewhere classified
14.   M50.21         Other cervical disc displacement, high cervical region
15.   M50.220        Other cervical disc displacement, mid-cervical region, unspecified level
16.   M50.221        Other cervical disc displacement at C4-C5 level
17.   M50.222        Other cervical disc displacement at C5-C6 level
18.   M50.223        Other cervical disc displacement at C6-C7 level


Plan
Therapy should continue as directed.

Today's Treatment
1. hot packs in the cervical region and in the lumbar region and in the sacrum region
2. Electrical Stimulation in the sacrum region and in the cervical region and in the lumbar region
3. Traction in the lumbar region and in the cervical region
4. Massage in the cervical region and in the lumbar region and in the sacrum region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 1/29/2021




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2/3/2021

Subjective Complaint
Ms. Williams was evaluated today for progress and response to treatment. The following are
the patient's subjective response to questions regarding her pain levels: Overall pain level today
on a scale of 0 (no pain) to 10 (excruciating pain) is considered a 9. The patient reported that
the following complaints have not changed since the last visit: left knee. Also, the patient
revealed her posterior neck and lower back deteriorated since the last visit.

Objective
Evaluation of the cervical spine reveals tenderness along the both sides of the cervical region,
both sides of the mastoid process and C1 vertebra on both sides. Examination of the cervical
spine region indicates the presence of increased tonus in the cervical region on both sides,
trapezius on both sides and SCMs on the both sides. Ranges of motion in the cervical region
remain unchanged. The patient experienced pain while performing this test. There is
tenderness in the lumbar region bilaterally and erector spinae bilaterally. Examination of the
lumbar spine region indicates the presence of increased tonus in the lumbar region on both
sides and erector spinae on both sides. Ranges of motion in the lumbar region continue to be
unchanged. The patient complained of pain during testing. There is tenderness of the
sacroiliac on both sides. Examination of the sacral region reveals hypertonicity of the gluteus
on both sides. Palpation of the knee revealed tenderness in the left tibiofemoral joint. Palpation
of the left knee revealed tenderness in the fibular head. Ranges of motion in Examination of the
knee indicates that the ROM has not changed.

Assessment
Posterior neck, lower back and left knee assessment is determined to be unchanged. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee. It
is to be noted that Ms. Williams is already under the care of an orthopedic doctor.
Diagnosis consisted of:
1. W19.XXXA          Unspecified Fall, Initial Encounter
2. M54.2             Cervicalgia
3. M54.5             Low back pain
4. M99.01            Segmental and somatic dysfunction of cervical region
5. M99.03            Segmental and somatic dysfunction of lumbar region
6. M99.04            Segmental and somatic dysfunction of sacral region
7. M54.16            Radiculopathy, lumbar region
8. M79.1             Myalgia
9. G47.8             Sleep disturbance, other sleep disorder
10. R20.8            Other disturbances of skin sensation
11. M25.60           Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562          Pain in left knee
13. M25.662          Stiffness of left knee, not elsewhere classified
14. M50.21           Other cervical disc displacement, high cervical region
15. M50.220          Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221          Other cervical disc displacement at C4-C5 level
17. M50.222          Other cervical disc displacement at C5-C6 level
18. M50.223          Other cervical disc displacement at C6-C7 level


Plan
After today's visit, Priscilla should continue with therapy as directed.


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Today's Treatment
1. hot packs in the cervical region and in the lumbar region and in the sacrum region
2. Electrical Stimulation in the sacrum region and in the cervical region and in the lumbar region
3. Traction in the lumbar region and in the cervical region
4. Massage in the cervical region and in the lumbar region and in the sacrum region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 2/3/2021




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2/4/2021

Subjective Complaint
Ms. Williams was evaluated today for progress and response to treatment. The following are
the patient's subjective response to questions regarding her pain levels: Overall pain level today
on a scale of 0 (no pain) to 10 (excruciating pain) is considered a 8. The patient reported that
the following complaints have not changed since the last visit: posterior neck, lower back and
left knee.

Objective
Evaluation of the cervical spine reveals tenderness along the both sides of the cervical region,
both sides of the mastoid process and C1 vertebra on both sides. Hypertonicity is palpable in
the cervical region bilaterally, trapezius bilaterally and SCMs bilaterally. Ranges of motion in
the cervical region remain unchanged. The patient experienced pain while performing this test.
There is tenderness in the lumbar region bilaterally and erector spinae bilaterally. Examination
of the lumbar spine region indicates the presence of increased tonus in the lumbar region on
both sides and erector spinae on both sides. Ranges of motion in the lumbar region continue to
be unchanged. The patient complained of pain during testing. There is tenderness of the
sacroiliac on both sides. Examination of the sacral region reveals hypertonicity of the gluteus
on both sides. Palpation of the knee revealed tenderness in the left tibiofemoral joint. Palpation
of the left knee revealed tenderness in the fibular head. Ranges of motion in Examination of the
knee indicates that the ROM has not changed.

Assessment
Posterior neck, lower back and left knee assessment is determined to be unchanged. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee. It
is to be noted that Ms. Williams is already under the care of an orthopedic doctor.
Diagnosis consisted of:
1. W19.XXXA          Unspecified Fall, Initial Encounter
2. M54.2             Cervicalgia
3. M54.5             Low back pain
4. M99.01            Segmental and somatic dysfunction of cervical region
5. M99.03            Segmental and somatic dysfunction of lumbar region
6. M99.04            Segmental and somatic dysfunction of sacral region
7. M54.16            Radiculopathy, lumbar region
8. M79.1             Myalgia
9. G47.8             Sleep disturbance, other sleep disorder
10. R20.8            Other disturbances of skin sensation
11. M25.60           Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562          Pain in left knee
13. M25.662          Stiffness of left knee, not elsewhere classified
14. M50.21           Other cervical disc displacement, high cervical region
15. M50.220          Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221          Other cervical disc displacement at C4-C5 level
17. M50.222          Other cervical disc displacement at C5-C6 level
18. M50.223          Other cervical disc displacement at C6-C7 level


Plan
After today's visit, Priscilla should continue with therapy as directed.



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Today's Treatment
1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the sacrum region and in the cervical region and in the lumbar region
3. Traction in the lumbar region and in the cervical region
4. Massage in the cervical region and in the lumbar region and in the sacrum region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 2/4/2021




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2/5/2021

Subjective Complaint
Ms. Williams was evaluated today to determine progress and response to the current treatment
plan. The patient's subjective response to question in regards to pain levels: Current pain level
today on a scale of 0 (no pain) to 10 (unbearable pain) is considered a 8. Her posterior neck,
lower back and left knee has not changed since the last visit.

Objective
Cervical tenderness is present in the cervical region bilaterally, mastoid process bilaterally and
C1 vertebra bilaterally. Examination of the cervical spine region indicates the presence of
increased tonus in the cervical region on both sides, trapezius on both sides and SCMs on the
both sides. Cervical region ranges of motion remain unchanged. The patient complained of
pain during testing. Palpated tenderness is present in the lumbar region on both sides and
erector spinae on both sides. There is hypertonicity of the lumbar spinal area in the lumbar
region bilaterally and erector spinae bialterally. Ranges of motion in the lumbar region have
remained unchanged. Pain was elicited during the execution of this test. Examination of the
sacral area indicates the presence of discomfort and pain in the sacroiliac bilaterally. Palpation
over the sacrum exhibits hypertonicity of the gluteus bilaterally. Evaluation of the knee region
elicited tender points in the left tibialfemoral region. Left fibular head tenderness was palpated.
Ranges of motion in the knee have remain unchanged.

Assessment
Posterior neck and lower back assessment is determined to be improved. Left knee
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee. It is to be noted that Ms. Williams is already
under the care of an orthopedic doctor.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Today's visit indicates that Priscilla should proceed with therapy as directed.



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Today's Treatment
1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the sacrum region and in the cervical region and in the lumbar region
3. Traction in the lumbar region and in the cervical region
4. Massage in the cervical region and in the lumbar region and in the sacrum region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 2/5/2021




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2/8/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
rated her overall pain level today on a scale of 0 (no pain) to 10 (excruciating pain). The patient
said her pain level can be considered a 10. Her posterior neck, lower back and left knee
showed no change since the last visit. Ms. Williams reported that she had a rough weekend
due to pain. She added that her lower back pain is worse than usual causing her to limp,
radiates down her legs and experiences weakness.

Objective
There is discomfort and pain in the cervical region bilaterally, mastoid process bilaterally and C1
vertebra on both sides. There is hypertonicity in the cervical region on both sides, trapezius on
both sides and SCMs on both sides. Cervical ranges of motion have increased. The patient
reported pain when performing this test. Evaluation of the lumbar spinal region reveals tender
areas in the lumbar region on both sides and erector spinae on both sides. Palpation of the
lumbar musculature demonstrates hypertonicity in that area in the lumbar region on both sides
and erector spinae on both sides. Ranges of motion in the lumbar region have remained
unchanged. The patient indicated that they felt discomfort during the performance of this
evaluation. There is tenderness present in the sacral spine in the sacroiliac on both sides.
Increased muscle tone is present in the gluteus on both sides. Palpation revealed tenderness in
the tibiofemoral on the left. Palpation of the left knee revealed tenderness of the fibular head.
The knee displayed increased range of motion.

Assessment
Posterior neck and left knee assessment is determined to be improved. Lower back
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee. It is to be noted that Ms. Williams is told to
follow up with her orthopedic doctor.
Diagnosis consisted of:
1. W19.XXXA           Unspecified Fall, Initial Encounter
2. M54.2              Cervicalgia
3. M54.5              Low back pain
4. M99.01             Segmental and somatic dysfunction of cervical region
5. M99.03             Segmental and somatic dysfunction of lumbar region
6. M99.04             Segmental and somatic dysfunction of sacral region
7. M54.16             Radiculopathy, lumbar region
8. M79.1              Myalgia
9. G47.8              Sleep disturbance, other sleep disorder
10. R20.8             Other disturbances of skin sensation
11. M25.60            Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562           Pain in left knee
13. M25.662           Stiffness of left knee, not elsewhere classified
14. M50.21            Other cervical disc displacement, high cervical region
15. M50.220           Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221           Other cervical disc displacement at C4-C5 level
17. M50.222           Other cervical disc displacement at C5-C6 level
18. M50.223           Other cervical disc displacement at C6-C7 level


Plan


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At this time, therapies will proceed as directed.

Today's Treatment
1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the lumbar region and in the cervical region and on the knee
3. Traction in the cervical region and in the lumbar region
4. Massage in the sacrum region and in the cervical region and in the lumbar region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 2/8/2021




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2/10/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
was asked about her pain levels which she rated as follows: Overall pain level today on a scale
of 0 (no pain) to 10 (unbearable pain) is considered a 9. Today the patient says there are
improvements in her posterior neck, lower back and left knee. Ms. Williams reported that she
continues to experience severe pain. However, the pain is not longer constant since she started
treatment here at this office.

Objective
Tenderness is observed in the cervical region bilaterally, mastoid process bilaterally and C1
bilaterally. There is hypertonicity in the cervical region on both sides and trapezius on both
sides. Cervical spine evaluation shows that the range of motion has improved. The patient
reported pain during the performance of this test. Evaluation of the lumbar spinal region reveals
tender areas in the lumbar region on both sides and erector spinae on both sides. Palpation of
the lumbar musculature demonstrates hypertonicity in that area in the lumbar region on both
sides and erector spinae on both sides. The lumbar ranges of motion have increased. The
patient indicated that they felt discomfort during the performance of this evaluation. Palpation of
the sacrum reveals tenderness of the sacroiliac bilaterally. Increased muscle tone is present in
the gluteus on both sides. Palpation revealed tenderness in the tibiofemoral on the left.
Palpation of the left knee revealed tenderness of the fibular head. The knee displayed
increased range of motion.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
At this time, therapies will proceed as directed.



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Today's Treatment
1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the lumbar region and in the cervical region and on the knee
3. Traction in the cervical region and in the lumbar region
4. Massage in the sacrum region and in the cervical region and in the lumbar region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 2/10/2021




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2/15/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
was questioned about her pain scale: General pain level today, on a scale of 0 (no pain) to 10
(unbearable pain), is evaluated as 10. Today the patient said that she felt improvements in her
left knee. In addition, the patient reported that her posterior neck and lower back deteriorated
since the last visit. Ms. Williams reported that she had a rough weekend due to pain.

Objective
Palpation of the cervical spine reveals tenderness in the cervical region bilaterally, mastoid
process bilaterally and C1 vertebra bilaterally. Hypertonicity is palpable in the cervical region
bilaterally and trapezius bilaterally. Ranges of motion in the cervical spine have increased. The
patient indicated that they felt discomfort and pain during the performance of this exam.
Tenderness is notable in the lumbar spine in the lumbar region bilaterally and erector spinae
bilaterally. Hypertonicity of the lumbar spine is palpable in the lumbar region bilaterally and
erector spinae bilaterally. Ranges of motion in the lumbar region have increased. The patient
complained of pain during testing. Palpation of the sacrum elicits tenderness of the sacroiliac
bilaterally. Examination of the knee indicates the presence of discomfort and pain in the
tibiofemoral junction on the left. Palpation of the left knee revealed tenderness in the fibular
head. Ranges of motion in the knee(s) have increased.

Assessment
Left knee assessment is determined to be improved. Posterior neck and lower back
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Priscilla should proceed with therapies as directed.

Today's Treatment


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1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the lumbar region and in the cervical region and on the knee
3. Traction in the cervical region and in the lumbar region
4. Massage in the sacrum region and in the cervical region and in the lumbar region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 2/15/2021




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2/18/2021

Subjective Complaint
Ms. Williams was evaluated today for progress and response to treatment. The following are
the patient's subjective response to questions regarding her pain levels: Overall pain level today
on a scale of 0 (no pain) to 10 (excruciating pain) is considered a 10. The patient reported that
she felt improvements in her posterior neck and left knee. Also, the patient revealed her lower
back deteriorated since the last visit. Ms. Williams reported that she is experiencing increased
lower back pain today. Furthermore, she stated that she recently fell while in her kitchen due to
weakness in her knee. However, Ms. Williams reported that she is now doing knee exercises
while at home. The exercises has helped ease the achy pain but there continues to be stiffness.
Ms. Williams also admitted that the exercises has helped to decrease the need to constantly
use her brace. Ms. Williams reported that she has noticed that since her accident performing
normal daily activities has proven to be a chore with the use of her left shoulder.

Objective
Evaluation of the cervical spine reveals tenderness along the both sides of the cervical region
and C1 vertebra on both sides. Examination of the cervical spine region indicates the presence
of increased tonus in the cervical region on both sides and trapezius on both sides. Ranges of
motion in the cervical region have increased. The patient experienced pain while performing
this test. There is tenderness in the lumbar region bilaterally and erector spinae bilaterally.
There is hypertonicity of the lumbar spinal area in the lumbar region bilaterally and erector
spinae bialterally. Ranges of motion in the lumbar region continue to be unchanged. Pain was
elicited during the execution of this test. There is tenderness of the sacroiliac on both sides.
Palpation of the knee revealed tenderness in the left tibiofemoral joint. Left fibular head
tenderness was palpated. Examination of the knee indicated that the ROM has improved.

Assessment
Posterior neck and left knee assessment is determined to be improved. Lower back
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level



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Plan
After today's visit, Priscilla should continue with therapy as directed.

Today's Treatment
1. hot packs in the cervical region and in the sacrum region
2. Electrical Stimulation in the lumbar region and in the cervical region and on the knee
3. Traction in the cervical region and in the lumbar region
4. Massage in the sacrum region and in the cervical region and in the lumbar region
5. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 2/18/2021




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2/22/2021

Subjective Complaint
Ms. Williams was evaluated today for progress and response to the care plan. The patient was
asked subjective questions regarding her pain levels: her pain level today on a scale of 0 (no
pain) to 10 (unbearable pain) is reported to be 10. The patient reported improvements of the
following complaints: left knee. The patient reported that her posterior neck and lower back
remain unchanged since the last visit. Ms. Williams reported that she is not able to lay 10
minutes at times due to pain. She added that her orthopedic doctor does not want to give her
anymore injections and she cannot lay in bed. She also stated that her pain was constant prior
to receiving treatment here at this office and now her pain comes and goes wich is

Objective
Tenderness is noted in the both sides of the cervical region and both sides of C1. Palpation of
the spine reveals increased muscle tone in the cervical region bilaterally and trapezius
bilaterally. Cervical spine ranges of motion have increased. The patient experienced
discomfort during the execution of this test. Palpation of the lumbar spine reveals tenderness in
the lumbar region bilaterally and erector spinae bilaterally. Palpation of the lumbar spine
reveals increased muscle tone in the lumbar region on both sides and erector spinae on both
sides. Lumbar spine evaluation shows that the ranges of motion have improved. The patient
experienced pain during the performance of this test. Tenderness is present in the sacroiliac
bilaterally. The patient reported tenderness of the knee in the tibiofemoral region on the left.
Palpation revealed tenderness in fibular head on the left. Ranges of motion in the knee has
increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy should continue as directed.


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Today's Treatment
1. Electrical Stimulation in the cervical region and on the knee and in the lumbar region
2. Traction in the cervical region and in the lumbar region
3. Massage in the cervical region and in the sacrum region and in the lumbar region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 2/22/2021




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2/24/2021

Subjective Complaint
Ms. Williams was evaluated today to assess her response to care. The patient was asked
subjective questions regarding her pain levels: her pain level today on a scale of 0 (no pain) to
10 (unbearable pain) is reported to be 10. The patient reported that her posterior neck, lower
back and left knee remain unchanged since the last visit. Ms. Williams reported that her pain
has not changed since her last visit.

Objective
Tenderness is noted in the both sides of the cervical region and both sides of C1. Palpation of
the spine reveals increased muscle tone in the cervical region bilaterally and trapezius
bilaterally. Cervical spine evaluation shows that the range of motion remains the same. The
patient experienced discomfort during the execution of this test. Palpation of the lumbar spine
reveals tenderness in the lumbar region bilaterally and erector spinae bilaterally. There is
hypertonicity in the lumbar spine in the lumbar region bilaterally and erector spinae bilaterally.
Since the last visit, lumbar region range of motion has remained unchanged. There is pain
during the execution of this test. Tenderness is present in the sacroiliac bilaterally. The patient
reported tenderness of the knee in the tibiofemoral region on the left. Examination of the knee
indicates the presence of discomfort and pain in the head of the fibula on the left. Ranges of
motion in the knee has increased.

Assessment
Posterior neck and lower back assessment is determined to be improved. Left knee
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy should continue as directed.

Today's Treatment


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1. Electrical Stimulation in the cervical region and on the knee and in the lumbar region
2. Traction in the cervical region and in the lumbar region
3. Massage in the cervical region and in the sacrum region and in the lumbar region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 2/24/2021




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3/1/2021

Subjective Complaint
Ms. Williams was evaluated today to assess her response to care. The patient was asked
subjective questions regarding her pain levels: her pain level today on a scale of 0 (no pain) to
10 (unbearable pain) is reported to be 7. On today's visit the patient stated that she felt
improvements in her posterior neck, lower back and left knee.

Objective
Tenderness is noted in the both sides of the cervical region and both sides of C1. Palpation of
the spine reveals increased muscle tone in the cervical region bilaterally and trapezius
bilaterally. Cervical spine ranges of motion have increased. The patient experienced
discomfort during the execution of this test. Palpation of the lumbar spine reveals tenderness in
the lumbar region bilaterally and erector spinae bilaterally. There is hypertonicity in the lumbar
spine in the lumbar region bilaterally and erector spinae bilaterally. Lumbar region ranges of
motion have increased. There is pain during the execution of this test. Palpation of the sacrum
reveals tenderness of the sacroiliac bilaterally. Left knee palpation elicited tenderness in the left
tibiofemoral joint. Examination of the knee indicates the presence of discomfort and pain in the
head of the fibula on the left. Ranges of motion in the knee has increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy should continue as directed.

Today's Treatment
1. Traction in the cervical region and in the lumbar region
2. Massage in the sacrum region and in the cervical region and in the lumbar region
3. Activator in the cervical region and in the lumbar region and in the sacrum region


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4. Spinal decompression in the cervical region




  Dr. Avis Peek

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                              Advanced Chiropractic of Conyers
                                 1261 Parker Rd South East
                                    Conyers, GA 30094
                                      (770) 761-2181
                                    Fax: (770) 761-0277
                               Doctor: Clarel Jean-Louis, JR

Priscilla Williams
4862 ozment trail
Lithonia, GA 30038
Date of Birth: 8/18/1972



                                   SOAP Notes with exam

3/8/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
was questioned about her pain scale: General pain level today, on a scale of 0 (no pain) to 10
(unbearable pain), is evaluated as 7. Today the patient said that she felt improvements in her
posterior neck, lower back and left knee. Ms. Williams reported that her knee pain is on and off
at this point and her knee pain is no longer daily.

Objective
Palpation of the cervical spine reveals tenderness in the cervical region bilaterally and C1
vertebra bilaterally. Hypertonicity is palpable in the cervical region bilaterally and trapezius
bilaterally. Ranges of motion in the cervical spine have increased. The patient indicated that
they felt discomfort and pain during the performance of this exam. Tenderness is notable in the
lumbar spine in the lumbar region bilaterally and erector spinae bilaterally. Hypertonicity of the
lumbar spine is palpable in the lumbar region bilaterally and erector spinae bilaterally. Ranges
of motion in the lumbar region have increased. The patient reported pain while completing this
test. Palpation of the sacrum elicits tenderness of the sacroiliac bilaterally. Examination of the
knee indicates the presence of discomfort and pain in the tibiofemoral junction on the left.
Evaluation of the knee region elicited tender points in the left head of the fibula. Ranges of
motion in the knee has increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region



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8.    M79.1           Myalgia
9.    G47.8           Sleep disturbance, other sleep disorder
10.   R20.8           Other disturbances of skin sensation
11.   M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12.   M25.562         Pain in left knee
13.   M25.662         Stiffness of left knee, not elsewhere classified
14.   M50.21          Other cervical disc displacement, high cervical region
15.   M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16.   M50.221         Other cervical disc displacement at C4-C5 level
17.   M50.222         Other cervical disc displacement at C5-C6 level
18.   M50.223         Other cervical disc displacement at C6-C7 level


Plan
Priscilla should proceed with therapies as directed.

Today's Treatment
1. Therapeutic Exercises in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




      Clarel Jean-Louis, JR

Electronically signed on 3/8/2021




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3/10/2021

Subjective Complaint
Ms. Williams was checked for her responsiveness to the treatment plan. The following is the
patient's subjective response to the question regarding her pain levels: Overall pain level today,
on a scale of 0 (no pain) to 10 (excruciating pain), is considered a 7. Her posterior neck and
lower back remained unchanged since the last visit. Also, the patient revealed her left knee has
deteriorated since the last visit. Ms. Williams reported that she is experiencing an increase in
her knee pain today.

Objective
There is tenderness found in the cervical region bilaterally and C1 bilaterally. Cervical spine
palpation reveals increased muscle tone of the cervical region bilaterally and trapezius
bilaterally. Ranges of motion in the cervical region are increased. The patient reported
increased pain during this test. There is tenderness upon palpation in the lumbar region on both
sides and erector spinae on both sides. Hypertonicity is palpated in the lumbar region bilaterally
and erector spinae bilaterally. Ranges of motion in the lumbar region have increased since the
last visit. The patient reported pain and discomfort during the execution of this test. Evaluation
of the sacrum elicits tender points in the sacroiliac bilaterally. Palpation of the knee revealed
tenderness in the tibiofemoral on the left. Left knee evaluation exhibited tenderness in the left
fibular head. Knee range of motion has not changed.

Assessment
Posterior neck and lower back assessment is determined to be improved. Left knee
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Proceed with therapies as stated earlier.

Today's Treatment


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1. Cold packs on the knee
2. Therapeutic Exercises in the cervical region and in the lumbar region
3. Traction in the cervical region and in the lumbar region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




  Dr. Avis Peek

Electronically signed on 3/10/2021




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3/17/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
rated her overall pain level today on a scale of 0 (no pain) to 10 (excruciating pain). The patient
said her pain level can be considered a 7. Today the patient says there are improvements in
her posterior neck and lower back. Her left knee showed no change since the last visit.

Objective
There is discomfort and pain in the cervical region bilaterally. There is hypertonicity in the
cervical region on both sides and trapezius on both sides. Cervical spine evaluation shows that
the range of motion has improved. The patient reported pain when performing this test.
Evaluation of the lumbar spinal region reveals tender areas in the lumbar region on both sides
and erector spinae on both sides. Palpation of the lumbar musculature demonstrates
hypertonicity in that area in the lumbar region on both sides and erector spinae on both sides.
The lumbar ranges of motion have increased. The patient indicated that they felt discomfort
during the performance of this evaluation. There is tenderness present in the sacral spine in the
sacroiliac on both sides. Palpation revealed tenderness in the tibiofemoral on the left.
Palpation of the left knee revealed tenderness of the fibular head. since the last visit, ranges of
motion in the knee have remained unchanged.

Assessment
Posterior neck and lower back assessment is determined to be improved. Left knee
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
At this time, therapies will proceed as directed.

Today's Treatment
1. Massage in the cervical region and in the lumbar region and in the sacrum region


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2. Activator in the cervical region and in the lumbar region and in the sacrum region
3. Spinal decompression in the cervical region




  Dr. Avis Peek

Electronically signed on 3/17/2021




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3/19/2021

Subjective Complaint
Ms. Williams was evaluated today to determine progress and response to the current treatment
plan. The patient's subjective response to question in regards to pain levels: Current pain level
today on a scale of 0 (no pain) to 10 (unbearable pain) is considered a 6. Her posterior neck,
lower back and left knee has not changed since the last visit. Ms. Williams reported that she
continues to experience daily pain and stiffness. Furthermore, she said that she has to use heat
in order to get her day going.

Objective
Cervical tenderness is present in the cervical region bilaterally. There is hypertonicity of the
cervical region on both sides and trapezius on both sides. Ranges of motion in the cervical
region have improved. The patient complained of pain during testing. Palpated tenderness is
present in the lumbar region on both sides and erector spinae on both sides. Evaluation of the
lumbar spinal areas shows hypertonicity in the lumbar region bilaterally and erector spinae
bilaterally. Since the last visit, ranges of motion in the lumbar region have increased. The
patient experienced pain during this test. Examination of the sacral area indicates the presence
of discomfort and pain in the sacroiliac bilaterally. Evaluation of the knee region elicited tender
points in the left tibialfemoral region. Palpation of the knee revealed tenderness in fibular head
on the left. Ranges of motion in the knee have remain unchanged.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Ms. Williams has been referred out for physical therapy.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Today's visit indicates that Priscilla should proceed with therapy as directed.

Today's Treatment


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1. Massage in the cervical region and in the lumbar region and in the sacrum region
2. Activator in the cervical region and in the lumbar region and in the sacrum region
3. Spinal decompression in the cervical region




  Dr. Avis Peek

Electronically signed on 3/19/2021




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3/22/2021

Subjective Complaint
Ms. Williams was evaluated today to assess her response to care. The patient was asked
about her pain levels which she rated as follows: Overall pain level today on a scale of 0 (no
pain) to 10 (unbearable pain) is considered a 6. On today's visit the patient stated that she felt
improvements in her posterior neck, lower back and left knee. Ms. Williams reported that her
pain is no longer constant.

Objective
Tenderness is noted in the both sides of the cervical region. Palpation of the spine reveals
increased muscle tone in the cervical region bilaterally and trapezius bilaterally. Cervical spine
ranges of motion have increased. The patient reported pain during the performance of this test.
Palpation of the lumbar spine reveals tenderness in the lumbar region bilaterally and erector
spinae bilaterally. There is hypertonicity in the lumbar spine in the lumbar region bilaterally and
erector spinae bilaterally. Lumbar region ranges of motion have increased. There is pain
during the execution of this test. Palpation of the sacrum reveals tenderness of the sacroiliac
bilaterally. Left knee palpation elicited tenderness in the left tibiofemoral joint. Examination of
the knee indicates the presence of discomfort and pain in the head of the fibula on the left.
Ranges of motion in the knee has increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy should continue as directed.

Today's Treatment
1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the cervical region and in the lumbar region


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3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 3/22/2021




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3/24/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
rated her overall pain level today on a scale of 0 (no pain) to 10 (excruciating pain). The patient
said her pain level can be considered a 9. Her left knee showed no change since the last visit.
Additionally, the patient indicated that her posterior neck and lower back has deteriorated since
the last visit. Ms. Williams reported that she is not sure if it's the weather, but her pain is worse
today.

Objective
There is discomfort and pain in the cervical region bilaterally. Palpation of the cervical
musculature demonstrates hypertonicity in the cervical region bilaterally and trapezius
bilaterally. Cervical range of motion remains unchanged. The patient reported pain when
performing this test. Examination of the lumbar spine reveals tenderness in the lumbar region
bilaterally and erector spinae bilaterally. Hypertonicity of the lumbar spine is palpable in the
lumbar region bilaterally and erector spinae bilaterally. Ranges of motion in the lumbar region
have remained unchanged. The patient reported pain while completing this test. There is
tenderness present in the sacral spine in the sacroiliac on both sides. Palpation revealed
tenderness in the tibiofemoral on the left. Evaluation of the knee region elicited tender points in
the left head of the fibula. Ranges of motion in the knee has increased.

Assessment
Left knee assessment is determined to be improved. Posterior neck and lower back
assessment is determined to be unchanged. MRI shows disc herniation at C3/4, C4/5, C5/6,
and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy will continue as directed.

Today's Treatment


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1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 3/24/2021




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3/29/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
was questioned about her pain scale: General pain level today, on a scale of 0 (no pain) to 10
(unbearable pain), is evaluated as 7. Today the patient said that she felt improvements in her
posterior neck, lower back and left knee. On a scale of 0 to 10 with 10 being the worst, she
rated her posterior neck as a 3 and lower back as a 7. Ms. Williams reported that her knee pain
comes and goes and her neck pain is not as bad today. However, she stated that her lower
back pain is still intense at times.

Objective
Palpation of the cervical spine reveals tenderness in the cervical region bilaterally.
Hypertonicity is palpable in the cervical region bilaterally and trapezius bilaterally. Ranges of
motion in the cervical spine have increased. The patient indicated that they felt discomfort and
pain during the performance of this exam. Tenderness is notable in the lumbar spine in the
lumbar region bilaterally and erector spinae bilaterally. Hypertonicity of the lumbar spine is
palpable in the lumbar region bilaterally and erector spinae bilaterally. Ranges of motion in the
lumbar region have increased. The patient complained of pain during testing. Palpation of the
sacrum elicits tenderness of the sacroiliac bilaterally. Examination of the knee indicates the
presence of discomfort and pain in the tibiofemoral junction on the left. Palpation of the left
knee revealed tenderness in the fibular head. Ranges of motion in the knee(s) have increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Priscilla should proceed with therapies as directed.

Today's Treatment


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1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the cervical region, in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 3/29/2021




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4/2/2021

Subjective Complaint
Ms. Williams was assessed today for progress and response to the plan of care. The patient
was questioned about her pain scale: General pain level today, on a scale of 0 (no pain) to 10
(unbearable pain), is evaluated as 8. Today the patient said that she felt improvements in her
posterior neck and left knee. Additionally, the patient indicated that her lower back has
deteriorated since the last visit. On a scale of 0 to 10 with 10 being the worst, she rated her
posterior neck as a 3. Ms. Williams reported that the pain and stiffness in her lower back has
increased since her last visit. She said that she has her good days and her bad days. Ms.
Williams reported that today is a good day for her neck pain.

Objective
There is discomfort and pain in the cervical region bilaterally. Palpation of the cervical
musculature demonstrates hypertonicity in the cervical region bilaterally. Cervical ranges of
motion have increased. Examination of the lumbar spine reveals tenderness in the lumbar
region bilaterally and erector spinae bilaterally. Hypertonicity of the lumbar spine is palpable in
the lumbar region bilaterally and erector spinae bilaterally. Ranges of motion in the lumbar
region have increased. The patient reported pain while completing this test. Palpation of the
sacrum elicits tenderness of the sacroiliac bilaterally. Examination of the knee indicates the
presence of discomfort and pain in the tibiofemoral junction on the left. Evaluation of the knee
region elicited tender points in the left head of the fibula. Ranges of motion in the knee has
increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Therapy will continue as directed.



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Today's Treatment
1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the lumbar region and in the sacrum region




   Clarel Jean-Louis, JR

Electronically signed on 4/2/2021




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4/5/2021

Subjective Complaint
Ms. Williams was evaluated today to determine progress and response to the current treatment
plan. The patient's subjective response to question in regards to pain levels: Current pain level
today on a scale of 0 (no pain) to 10 (unbearable pain) is considered a 5. The patient disclosed
she is feeling improvements in her posterior neck, lower back and left knee. Ms. Williams
reported that today is a great day as it relates to pain.

Objective
Cervical tenderness is present in the cervical region bilaterally. There is hypertonicity of the
cervical region on both sides and trapezius on both sides. Ranges of motion in the cervical
region have improved. Palpated tenderness is present in the lumbar region on both sides and
erector spinae on both sides. Evaluation of the lumbar spinal areas shows hypertonicity in the
lumbar region bilaterally and erector spinae bilaterally. Ranges of motion in the lumbar region
have increased. Palpation of the knee revealed tenderness in fibular head on the left. Ranges
of motion in the knee have increased.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
Today's visit indicates that Priscilla should proceed with therapy as directed.

Today's Treatment
1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the lumbar region and in the sacrum region
5. Spinal decompression in the cervical region


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4/8/2021

Subjective Complaint
Ms. Williams was evaluated today for progress and response to treatment. The following are
the patient's subjective response to questions regarding her pain levels: Overall pain level today
on a scale of 0 (no pain) to 10 (excruciating pain) is considered a 5. The patient reported that
she felt improvements in her left knee. The patient reported that the following complaints have
not changed since the last visit: posterior neck and lower back.

Objective
Evaluation of the cervical spine reveals tenderness along the both sides of the cervical region.
Examination of the cervical spine region indicates the presence of increased tonus in the
cervical region on both sides and trapezius on both sides. Ranges of motion in the cervical
region have increased. There is tenderness in the lumbar region bilaterally and erector spinae
bilaterally. There is hypertonicity of the lumbar spinal area in the lumbar region bilaterally and
erector spinae bialterally. Ranges of motion in the lumbar region have increased. Left fibular
head tenderness was palpated. Examination of the knee indicated that the ROM has improved.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
After today's visit, Priscilla should continue with therapy as directed.

Today's Treatment
1. Electrical Stimulation in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region, in the lumbar region and in the sacrum region




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  Dr. Avis Peek

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4/12/2021

Subjective Complaint
Ms. Williams was evaluated today to determine progress and response to the current treatment
plan. The following are the patient's subjective response to questions regarding her pain levels:
Overall pain level today on a scale of 0 (no pain) to 10 (excruciating pain) is considered a 3.
The patient disclosed she is feeling improvements in her posterior neck, lower back and left
knee. Ms. Williams reported that she may not return for treatment because she started physical
therapy.

Objective
Evaluation of the cervical spine reveals tenderness along the both sides of the cervical region.
Examination of the cervical spine region indicates the presence of increased tonus in the
cervical region on both sides and trapezius on both sides. Ranges of motion in the cervical
region have increased. There is tenderness in the lumbar region bilaterally and erector spinae
bilaterally. There is hypertonicity of the lumbar spinal area in the lumbar region bilaterally and
erector spinae bialterally. Ranges of motion in the lumbar region have increased. Left fibular
head tenderness was palpated. Examination of the knee indicated that the ROM has improved.

Assessment
Posterior neck, lower back and left knee assessment is determined to be improved. MRI
shows disc herniation at C3/4, C4/5, C5/6, and C6/7. There is a MCL sprain of the left knee.
Diagnosis consisted of:
1. W19.XXXA         Unspecified Fall, Initial Encounter
2. M54.2            Cervicalgia
3. M54.5            Low back pain
4. M99.01           Segmental and somatic dysfunction of cervical region
5. M99.03           Segmental and somatic dysfunction of lumbar region
6. M99.04           Segmental and somatic dysfunction of sacral region
7. M54.16           Radiculopathy, lumbar region
8. M79.1            Myalgia
9. G47.8            Sleep disturbance, other sleep disorder
10. R20.8           Other disturbances of skin sensation
11. M25.60          Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562         Pain in left knee
13. M25.662         Stiffness of left knee, not elsewhere classified
14. M50.21          Other cervical disc displacement, high cervical region
15. M50.220         Other cervical disc displacement, mid-cervical region, unspecified level
16. M50.221         Other cervical disc displacement at C4-C5 level
17. M50.222         Other cervical disc displacement at C5-C6 level
18. M50.223         Other cervical disc displacement at C6-C7 level


Plan
After today's visit, Priscilla should continue with therapy as directed.

Today's Treatment
1. Traction in the cervical region and in the lumbar region
2. Massage in the lumbar region and in the sacrum region and in the cervical region
3. Activator in the cervical region and in the lumbar region and in the sacrum region
4. Spinal decompression in the lumbar region


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                              Advanced Chiropractic of Conyers
                                 1261 Parker Rd South East
                                    Conyers, GA 30094
                                      (770) 761-2181
                                    Fax: (770) 761-0277
                               Doctor: Clarel Jean-Louis, JR

Priscilla Williams
4862 ozment trail
Lithonia, GA 30038
Date of Birth: 8/18/1972

Examination Date: 3/3/2021



                                      Intermediate Exam



Chief Complaint
Ms. Williams reported that her pain is finally improving.

1. Posterior Neck
She is complaining of posterior neck pain.
2. Lower Back
The patient is complaining of lower back pain.
3. Left Knee
She is complaining of left knee pain.

Physical Examination
Physical examination revealed an individual who was alert, cooperative and orientated.
Minor's sign was positive.
Race:         Black or African American
Sex:          Female
Age:          48
Height:       5ft 3 inches
Weight:       180 pounds
BMI:          31.9
Complexion: Normal
Size:         Overweight

Posture
The patient's head tilt was to the right. Her shoulder level appeared high on the right. She had
a forward head carriage. The patient has rounded shoulders.

Cervical Spine Evaluation
Cervical spine evaluation provided the following results:




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Tenderness is observed in the cervical region bilaterally and C1 bilaterally. There is
hypertonicity in the cervical region on both sides and trapezius on both sides. Cervical spine
evaluation shows that the range of motion has improved. The patient reported pain when
performing this test. The following cervical orthopedic tests were negative: O'Donoghues on the
left and O'Donoghues on the right. Distraction test increased pain. The following cervical
orthopedic tests were positive: Cervical compression, Foraminal Compression bilaterally and
Max Compression bilaterally. Shoulder depression was positive on the left and right.

Lumbar Spine Evaluation
Lumbar spine evaluation provided the following results:

Evaluation of the lumbar spinal region reveals tender areas in the lumbar region on both sides
and erector spinae on both sides. Palpation of the lumbar musculature demonstrates
hypertonicity in that area in the lumbar region on both sides and erector spinae on both sides.
The lumbar ranges of motion have increased. The patient indicated that they felt discomfort
during the performance of this evaluation. Kemps was positive on the left. Kemps was positive
on the right. Patrick-Fabere test was positive on the left and the right. Lumbar distraction
produced negative results. The following lumbar orthopedic tests were negative: SLR passive
on both sides. The following lumbar orthopedic tests were positive: SLR active on both sides
and SLR double.

Sacroiliac Evaluation
The following is the results of sacroiliac testing:

Hibb's Left:                 Positive
Hibb's Right:                Positive
Yeoman's Left:               Positive
Yeoman's Right:              Positive
There is tenderness present in the sacral spine in the sacroiliac on both sides.

Knee Tests

Palpation revealed tenderness in the tibiofemoral on the left. Palpation of the left knee revealed
tenderness of the fibular head. The knee displayed increased range of motion. The following
orthopedic tests were negative on the left: Drawer AP/PA and Patellar grinding. The following
orthopedic tests were positive on the left: Apley's compression and Apley's distraction.

Diagnosis
1. W19.XXXA           Unspecified Fall, Initial Encounter
2. M54.2              Cervicalgia
3. M54.5              Low back pain
4. M99.01             Segmental and somatic dysfunction of cervical region
5. M99.03             Segmental and somatic dysfunction of lumbar region
6. M99.04             Segmental and somatic dysfunction of sacral region
7. M54.16             Radiculopathy, lumbar region
8. M79.1              Myalgia
9. G47.8              Sleep disturbance, other sleep disorder
10. R20.8             Other disturbances of skin sensation
11. M25.60            Stiffness of Unspecified Joint, Not Elsewhere Classified.
12. M25.562           Pain in left knee
13. M25.662           Stiffness of left knee, not elsewhere classified


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14.   M50.21         Other cervical disc displacement, high cervical region
15.   M50.220        Other cervical disc displacement, mid-cervical region, unspecified level
16.   M50.221        Other cervical disc displacement at C4-C5 level
17.   M50.222        Other cervical disc displacement at C5-C6 level
18.   M50.223        Other cervical disc displacement at C6-C7 level


Management Plan
1. hot packs as needed
2. Electrical Stimulation as needed (to reduce muscle spasms and pain)
3. Spinal Manipulation 2x per week/duration of 5 weeks
4. Therapeutic Exercises 2x per week/duration of 5 weeks
5. Traction as needed
6. Massage as needed

Today's Treatments
Today's treatment consisted of
1. Therapeutic Exercises in the cervical region and in the lumbar region
2. Traction in the lumbar region and in the cervical region
3. Massage in the cervical region and in the lumbar region and in the sacrum region
4. Activator in the cervical region, in the lumbar region and in the sacrum region.


Should you have further questions regarding the health status of this patient, please do not
hesitate to call this office.




  Dr. Avis Peek

Electronically signed on 3/3/2021




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                                                       Daily Note                                       1 of 1

     Patient's Name      WILLIAMS, PRISCILLA                          Date Of Service 4/2/2021
                DOB      08/18/1972
     Medical Record      293-321267                                        SOC Date 4/2/2021
  Treating Therapist     YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician     Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic    Conyers                                       Claim Number 0000
                         1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
 Onset Date     Code        Description
 10/23/2020     M54.2       Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
 10/23/2020     M54.5       Low back pain
 10/23/2020     M79.18      Myalgia, other site




                                                  Interventions
Description                                                        CPT Code        Modifiers     Minutes         Units
Pt re-evaluation                                                   97002                         0               0
Therapeutic exercise                                               97110           GP            40              3
Neuromuscular Reeducation                                          97112                         0               0
Manual Therapy                                                     97140                         0               0
PT Evaluation Low Complexity 20 Minutes                            97161           GP            20              1
Therapeutic activities                                             97530                         0               0

                                            Interventions Summary
           Total Minutes            60           Timed Minutes             40           UnTimed Minutes              20
           Total Units              4            Timed Units               3            UnTimed Units                1




                                             Treatment Notes

Date of Service 4/2/2021    Therex: Instructions on prognosis, diagnosis, anatomy, and physiology



                                                             Electronically Signed By
                                                                                                           04/05/2021
                                                                                                          10:46:49 AM
                                                             YOUNG, STEPHEN PT
                                                             NPI 1306285812
                                                             State License # PT010111
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               DOB      08/18/1972
    Medical Record      293-321267                                        SOC Date 4/2/2021
 Treating Therapist     YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
Referring Physician     Young, Stephen M PT                               Clinic Fax 678-487-5930
     Treating Clinic    Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
Onset Date     Code        Description
10/23/2020     M54.2       Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
10/23/2020     M54.5       Low back pain
10/23/2020     M79.18      Myalgia, other site




                                               Joint Measurements
Current Level                                                         Goal
Hip               Strength       AROM           PROM         Hip               Strength        AROM            PROM
                  L     R       L       R      L       R                       L     R        L       R       L       R
Flexion           2+/5 2+/5     55 °    35 °                 Flexion
Extension         3/5   3/5     -10     -10                  Extension
Abduction         2+/5 2+/5                                  Abduction
Adduction                                                    Adduction
Int. Rotate       3/5   3/5   26 ° 24 °                      Int. Rotate
Ext. Rotate       3/5   3/5   17 ° 17 °                      Ext. Rotate
Other             Straight Leg Raise: L: 55 R:             55
                  ------------------------------                               ------------------------------
Cervical          Strength     ROM                           Cervical          Strength     ROM

Flexion                       35 °                           Flexion
Extension                     46 °                           Extension
                  ------------------------------                               ------------------------------
Cervical          Strength      ROM                          Cervical          Strength     ROM
                  L     R     L     R                                          L     R    L     R
Lat Flexion                   36 ° 33 °                      Lat Flexion
Rotation                      50 ° 55 °                      Rotation
Other
                  ------------------------------                               ------------------------------
Lumbar            Strength     ROM                           Lumbar            Strength     ROM

Flexion                       60%                            Flexion
Extension                     30%                            Extension
                  ------------------------------                               ------------------------------
Lumbar            Strength      ROM                          Lumbar            Strength     ROM
                  L     R     L     R                                          L     R    L     R
Lat Flexion                                                  Lat Flexion
Rotation                        30%     20%                  Rotation
Other
                  ------------------------------                               ------------------------------
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     Patient's Name      WILLIAMS, PRISCILLA                          Date Of Service 4/2/2021
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     Medical Record      293-321267                                        SOC Date 4/2/2021
  Treating Therapist     YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician     Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic    Conyers                                       Claim Number 0000
                         1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032




                                              Functional Analysis

Date of Service


History of Symptoms: 48 year-old female who reports a slip and fall at Wal-Mart in which she slipped on grapes on the
floor landing on her knee. Patient reports her head and neck "jolted backwards." Patient reports her slip and fall was
10/23/2021. Patient reports over the past 5 months she has received injections in her neck and back but unsure of what
kind. Patient reports receiving chiropractic care for the past two months and reports she is still receiving treatment.
Patient describes her neck pain as pressure and stiffness across the shoulder and down through the interscapular area.
Patient further reports headaches across the forehead. Patient reports her low back pain as sharpness and dull aching
that is intermittent in nature.


Reason for Visit: Direct Access


Referring Physician:


Tests-Imaging: MRI--neck, back


Area of Symptoms:
C1: across shoulders into interscapular area
C2: Across low back just superior to pelvic crest
C3:


Alleviating Factors: (N) gentle stretching and range of motion, propping with pillow (B) heat, massage


Aggravating Factors: (N) unknown (B) bending, sudden movement, sitting, standing


Pain:


Worst: (N) 8/10 (B) 10/10
Least: (N) 4/10 (B) 7/10
Current: (N) 8/10 (B) 7/10


Comorbidities: SEE FOTO


Home Duties-Responsibilities: Cooking, cleaning, laundry
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     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/2/2021
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     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
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      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032


Work Duties: Self Employed--making gift baskets


Barriers Home & Work: N/A


Prior Level of Function:
- Patient could bend over and perform lower body dressing without pain
- Patient can sit and perform computer work without pain
- Patient could stand and perform household cooking without pain
-
Current Deficits
- Patient can not currently bend due to pain and needs assistance with donning shoes
- Patient can not sit more than 10 minutes for driving and computer work tasks
- Patient can not stand more than 10 minutes for cooking tasks
-
FOTO: Neck 50 Back 38




                                             Long Term Goals
Ambulation/Standing time increased to >60 minutes to permit meal preparation
Lifting, strength and ROM increased so patient can lift and carry objects for shopping and housework
Sitting time is unlimited permitting work and ADLs
Patient will be independent with advanced home exercise program to address physical impairments
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     Medical Record            293-321267                                        SOC Date 4/2/2021
  Treating Therapist           YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician           Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic          Conyers                                       Claim Number 0000
                               1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                                     Interventions
Frequency                      2       Duration                         6 weeks

Intervention                                                                      CPT Code
PT Evaluation Low Complexity 20 Minutes                                           97161
PT Evaluation Moderate Complexity 30 Minutes                                      97162
PT Evaluation High Complexity 45 Minutes                                          97163
PT Re-Evaluation                                                                  97164
Therapeutic exercise                                                              97110
Neuromuscular Reeducation                                                         97112
Manual Therapy                                                                    97140
Therapeutic activities                                                            97530




                                                          Note Summary

Patient presents with sign and symptoms consistent with referring diagnosis of cervicalgia and low back pain


Current Limitations: Limitations in range of motion, strength, flexibility, soft tissue and joint mobility, posture and pain.


Functional Limitations: Deficits with standing, walking, bending, lifting and sitting for performance of household tasks


Patient is appropriate for Physical Therapy at this time and demonstrates good potential for full achievement of goals.



                                                                            Electronically Signed By
                                                                                                                04/05/2021
                                                                                                               10:46:03 AM
Young, Stephen M PT                    Date/Time                            YOUNG, STEPHEN PT
NPI 1306285812                                                              NPI 1306285812
I certify the need for these services furnished under this plan of          State License # PT010111
treatment while under my care.



Clinic Phone Number : 678-487-5920
 Clinic Fax Number : 678-487-5930
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     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
Onset Date     Code         Description
10/23/2020     M54.2        Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
10/23/2020     M54.5        Low back pain
10/23/2020     M79.18       Myalgia, other site




                                                  Interventions
Description                                                        CPT Code        Modifiers     Minutes         Units
Pt evaluation                                                      97001                         0               0
Pt re-evaluation                                                   97002                         0               0
Therapeutic exercise                                               97110                         0               0
Neuromuscular Reeducation                                          97112           GP            60              4
Manual Therapy                                                     97140                         0               0
Therapeutic activities                                             97530                         0               0

                                            Interventions Summary
           Total Minutes            60           Timed Minutes             60           UnTimed Minutes              0
           Total Units              4            Timed Units               4            UnTimed Units                0




                                            Progressive Exercises
Exercise                                                 Sets       Reps        Time          Wt/BaseColor/Level
hamstring stretch w/ strap 3 x 30s
Piriformis Stretch Supine ER 3 x 30s
PPT with diaphragmatic Breathing
PRI Glute Max ER
PRI Clams w/ Bolster b/ knees
Self STM tennis ball
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     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
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                                             Treatment Notes

Date of Service 4/5/2021   Neuro-Reed: Instructions via tactile, verbal, and visual cues for intended movement
performance



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                                                                                                        04/05/2021
                                                                                                       02:28:41 PM
                                                             YOUNG, STEPHEN PT
                                                             NPI 1306285812
                                                             State License # PT010111
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                                               Medical Necessity                                        1 of 3

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                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
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      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
Onset Date     Code         Description
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10/23/2020     M54.5        Low back pain
10/23/2020     M79.18       Myalgia, other site




                                                  Interventions
Description                                                        CPT Code        Modifiers     Minutes         Units
Pt evaluation                                                      97001                         0               0
Pt re-evaluation                                                   97002                         0               0
Therapeutic exercise                                               97110                         0               0
Neuromuscular Reeducation                                          97112           GP            60              4
Manual Therapy                                                     97140                         0               0
Therapeutic activities                                             97530                         0               0

                                            Interventions Summary
           Total Minutes            60           Timed Minutes             60           UnTimed Minutes              0
           Total Units              4            Timed Units               4            UnTimed Units                0




                                            Progressive Exercises
Exercise                                                 Sets       Reps        Time          Wt/BaseColor/Level
hamstring stretch w/ strap 3 x 30s
Piriformis Stretch Supine ER 3 x 30s
PPT with diaphragmatic Breathing
PRI Glute Max ER
PRI Clams w/ Bolster b/ knees
Self STM tennis ball
bike: aerobic exercise 10'
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                DOB      08/18/1972
     Medical Record      293-321267                                        SOC Date 4/2/2021
  Treating Therapist     YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician     Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic    Conyers                                       Claim Number 0000
                         1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                               Functional Analysis

Date of Service 4/7/2021



Prior Level of Function:
- Patient could bend over and perform lower body dressing without pain
- Patient can sit and perform computer work without pain
- Patient could stand and perform household cooking without pain
-
Current Deficits
- Patient can not currently bend due to pain and needs assistance with donning shoes
- Patient can not sit more than 10 minutes for driving and computer work tasks
- Patient can not stand more than 10 minutes for cooking tasks
-
FOTO: Neck 50 Back 38


Subjective: "I have been a little tight in my neck this morning. My back is actually feeling pretty good today with no real
problems. I had some soreness after our last session but put a heat pad on which helped."


Assessment: Patient presenting with deconditioning along with strength and mobility deficits limiting functional mobility
tolerance. Patient with slowly improving tolerance to mobility and conditioning tasks.



                                               Long Term Goals
                                                                            Met            Partially Met            Not Met
Ambulation/Standing time increased to >60 minutes to permit meal
preparation
Lifting, strength and ROM increased so patient can lift and carry objects
for shopping and housework
Sitting time is unlimited permitting work and ADLs
Patient will be independent with advanced home exercise program to
address physical impairments
            Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 191 of 200
                                                                                            EXHIBIT A




                                              Medical Necessity                                      3 of 3

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/7/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                            Treatment Description

Date of Service 4/7/2021   Neuro-Reed: Instructions via tactile, verbal, and visual cues for intended movement
performance



                                                           Electronically Signed By
                                                                                                       04/07/2021
                                                                                                      01:14:31 PM
                                                           YOUNG, STEPHEN PT
                                                           NPI 1306285812
                                                           State License # PT010111
             Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 192 of 200
                                                                                                EXHIBIT A




                                                       Daily Note                                       1 of 2

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/12/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
Onset Date     Code         Description
10/23/2020     M54.2        Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
10/23/2020     M54.5        Low back pain
10/23/2020     M79.18       Myalgia, other site




                                                  Interventions
Description                                                        CPT Code        Modifiers     Minutes         Units
Pt evaluation                                                      97001                         0               0
Pt re-evaluation                                                   97002                         0               0
Therapeutic exercise                                               97110                         0               0
Neuromuscular Reeducation                                          97112           GP            60              4
Manual Therapy                                                     97140                         0               0
Therapeutic activities                                             97530                         0               0

                                            Interventions Summary
           Total Minutes            60           Timed Minutes             60           UnTimed Minutes              0
           Total Units              4            Timed Units               4            UnTimed Units                0




                                            Progressive Exercises
Exercise                                                 Sets       Reps        Time          Wt/BaseColor/Level
hamstring stretch w/ strap 3 x 30s
Piriformis Stretch Supine ER 3 x 30s
PPT with diaphragmatic Breathing
PRI Glute Max ER
PRI Clams w/ Bolster b/ knees
Self STM tennis ball
bike: aerobic exercise 10'
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                                                                                            EXHIBIT A




                                                     Daily Note                                     2 of 2

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/12/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                            Treatment Notes

Date of Service 4/12/2021   Neuro-Reed: Instructions via tactile, verbal, and visual cues for intended movement
performance



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                                                           YOUNG, STEPHEN PT
                                                           NPI 1306285812
                                                           State License # PT010111
             Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 194 of 200
                                                                                                EXHIBIT A




                                                       Daily Note                                       1 of 2

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/14/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
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      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                   Diagnoses
Onset Date     Code         Description
10/23/2020     M54.2        Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
10/23/2020     M54.5        Low back pain
10/23/2020     M79.18       Myalgia, other site




                                                  Interventions
Description                                                        CPT Code        Modifiers     Minutes         Units
Pt evaluation                                                      97001                         0               0
Pt re-evaluation                                                   97002                         0               0
Therapeutic exercise                                               97110                         0               0
Neuromuscular Reeducation                                          97112           GP            60              4
Manual Therapy                                                     97140                         0               0
Therapeutic activities                                             97530                         0               0

                                            Interventions Summary
           Total Minutes            60           Timed Minutes             60           UnTimed Minutes              0
           Total Units              4            Timed Units               4            UnTimed Units                0




                                            Progressive Exercises
Exercise                                                 Sets       Reps        Time          Wt/BaseColor/Level
hamstring stretch w/ strap 3 x 30s
Piriformis Stretch Supine ER 3 x 30s
PPT with diaphragmatic Breathing
PRI Glute Max ER
PRI Clams w/ Bolster b/ knees
Self STM tennis ball
bike: aerobic exercise 10'
            Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 195 of 200
                                                                                             EXHIBIT A




                                                      Daily Note                                      2 of 2

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/14/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                             Treatment Notes

Date of Service 4/14/2021   Neuro-Reed: Instructions via tactile, verbal, and visual cues for intended movement
performance



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                                                                                                        04/27/2021
                                                                                                       10:43:56 AM
                                                            YOUNG, STEPHEN PT
                                                            NPI 1306285812
                                                            State License # PT010111
             Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 196 of 200
                                                                                                 EXHIBIT A




                                                Medical Necessity                                        1 of 2

     Patient's Name      WILLIAMS, PRISCILLA                          Date Of Service 4/26/2021
                DOB      08/18/1972
     Medical Record      293-321267                                        SOC Date 4/2/2021
  Treating Therapist     YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician     Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic    Conyers                                       Claim Number 0000
                         1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                    Diagnoses
Onset Date      Code         Description
10/23/2020      M54.2        Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
10/23/2020      M54.5        Low back pain
10/23/2020      M79.18       Myalgia, other site




                                                   Interventions
Description                                                         CPT Code        Modifiers     Minutes         Units
Pt re-evaluation                                                    97002                         0               0
Therapeutic exercise                                                97110                         0               0
Neuromuscular Reeducation                                           97112           GP            15              1
Manual Therapy                                                      97140           GP            45              3
PT Re-Evaluation                                                    97164           GP59          10              1
Therapeutic activities                                              97530                         0               0

                                             Interventions Summary
             Total Minutes           70           Timed Minutes             60           UnTimed Minutes              10
             Total Units             5            Timed Units               4            UnTimed Units                1




                                              Functional Analysis

Date of Service 4/26/2021



See Reeval
            Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 197 of 200
                                                                                               EXHIBIT A




                                                Medical Necessity                                        2 of 2

     Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/26/2021
                DOB     08/18/1972
     Medical Record     293-321267                                        SOC Date 4/2/2021
  Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
 Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
      Treating Clinic   Conyers                                       Claim Number 0000
                        1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                              Long Term Goals
                                                                            Met          Partially Met            Not Met
Ambulation/Standing time increased to >60 minutes to permit meal
preparation
Lifting, strength and ROM increased so patient can lift and carry objects
for shopping and housework
Sitting time is unlimited permitting work and ADLs
Patient will be independent with advanced home exercise program to
address physical impairments




                                              Treatment Description

Date of Service 4/26/2021   Neuro-Reed: Instructions via tactile, verbal, and visual cues for intended movement
performance



                                                              Electronically Signed By
                                                                                                           04/26/2021
                                                                                                          01:40:02 PM
                                                              YOUNG, STEPHEN PT
                                                              NPI 1306285812
                                                              State License # PT010111
                 Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 198 of 200
                                                                                                   EXHIBIT A




Visits 4                                            POC - Re-Evaluation                                    1 of 3

         Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/26/2021
                    DOB     08/18/1972
         Medical Record     293-321267                                        SOC Date 4/2/2021
      Treating Therapist    YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
     Referring Physician    Young, Stephen M PT                               Clinic Fax 678-487-5930
          Treating Clinic   Conyers                                       Claim Number 0000
                            1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                      Diagnoses
    Onset Date     Code        Description
    10/23/2020     M54.2       Cervicalgia (Excludes:cervicalgia due to intervertebral cervical disc disorder)
    10/23/2020     M54.5       Low back pain
    10/23/2020     M79.18      Myalgia, other site




                                                 Joint Measurements
    Current Level                                                       Goal
    Cervical          Strength       ROM                       Cervical            Strength        ROM

    Flexion                       40 °                         Flexion
    Extension                     50 °                         Extension
                      ------------------------------                               ------------------------------
    Cervical          Strength      ROM                        Cervical            Strength     ROM
                      L     R     L     R                                          L     R    L     R
    Lat Flexion                   36 ° 33 °                    Lat Flexion
    Rotation                      55 ° 55 °                    Rotation
    Other
                      ------------------------------                               ------------------------------
    Lumbar            Strength     ROM                         Lumbar              Strength     ROM

    Flexion                       50%                          Flexion
    Extension                     50%                          Extension
                      ------------------------------                               ------------------------------
    Lumbar            Strength      ROM                        Lumbar              Strength     ROM
                      L     R     L     R                                          L     R    L     R
    Lat Flexion                                                Lat Flexion
    Rotation                        30%    30%                 Rotation
    Other
                      ------------------------------                               ------------------------------
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Visits 4                                              POC - Re-Evaluation                                   2 of 3

         Patient's Name     WILLIAMS, PRISCILLA                          Date Of Service 4/26/2021
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          Treating Clinic   Conyers                                       Claim Number 0000
                            1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                  Functional Analysis

    Date of Service 4/26/2021


    Prior Level of Function:
    - Patient could bend over and perform lower body dressing without pain
    - Patient can sit and perform computer work without pain
    - Patient could stand and perform household cooking without pain
    -
    Current Deficits
    - Patient can not currently bend due to pain and needs assistance with donning shoes
    - Patient can not sit more than 10 minutes for driving and computer work tasks
    - Patient can not stand more than 10 minutes for cooking tasks
    -
    FOTO: Neck 45 Back 39


    Subjective: "I have been having a lot of pain on the left side of my back over the past two days. I don't know why. I woke
    up 2 days ago and it was very aggravated. It currently is a 10/10. I am going to go see my doctor to get him to write an
    order."


    Assessment: Patient presenting with deconditioning along with strength and mobility deficits limiting functional mobility
    tolerance. Patient with muscle guarding through left QL and lumbar paraspinals increasing pain levels. Patient improved
    to 6/10 by end of session. Patient awaiting to see M.D before continue due to being direct access.



                                                  Long Term Goals
                                                                                Met         Partially Met            Not Met
    Ambulation/Standing time increased to >60 minutes to permit meal
    preparation
    Lifting, strength and ROM increased so patient can lift and carry objects
    for shopping and housework
    Sitting time is unlimited permitting work and ADLs
    Patient will be independent with advanced home exercise program to
    address physical impairments
                   Case 1:21-cv-05273-JPB Document 1-1 Filed 12/27/21 Page 200 of 200
                                                                                                           EXHIBIT A




Visits 4                                                            POC - Re-Evaluation                         3 of 3

         Patient's Name            WILLIAMS, PRISCILLA                          Date Of Service 4/26/2021
                    DOB            08/18/1972
         Medical Record            293-321267                                        SOC Date 4/2/2021
      Treating Therapist           YOUNG, STEPHEN PT                              Clinic Phone 678-487-5920
     Referring Physician           Young, Stephen M PT                               Clinic Fax 678-487-5930
          Treating Clinic          Conyers                                       Claim Number 0000
                                   1288 Wellbrook Cir NE STE B, Conyers, GA, 30012-8032

                                                                         Interventions
    Frequency                      2       Duration                         6 weeks

    Intervention                                                                      CPT Code
    PT Re-Evaluation                                                                  97164
    Therapeutic exercise                                                              97110
    Neuromuscular Reeducation                                                         97112
    Manual Therapy                                                                    97140
    Therapeutic activities                                                            97530




                                                              Note Summary

    Please sign and return or get physician order.


    Thanks



                                                                                Electronically Signed By
                                                                                                                  04/26/2021
                                                                                                                 01:39:14 PM
    Young, Stephen M PT                    Date/Time                            YOUNG, STEPHEN PT
    NPI 1306285812                                                              NPI 1306285812
    I certify the need for these services furnished under this plan of          State License # PT010111
    treatment while under my care.



    Clinic Phone Number : 678-487-5920
     Clinic Fax Number : 678-487-5930
